Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 1 of 11 PageID #: 237



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

 v.                                                       Criminal No. 1:20CR33
                                                               (Judge Keeley)

 TERRELL ANDERSON,

                   Defendant.

         MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
        38], OVERRULING THE DEFENDANT’S OBJECTION [DKT. NO. 41],
      AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

        On   October        9,    2020,    the    defendant,     Terrell     Anderson

 (“Anderson”), moved to suppress physical evidence, including cash

 and the contents of his iPhone, that were obtained as the result

 of an allegedly unlawful seizure (Dkt. No. 21). On October 13,

 2020, pursuant        to    28   U.S.C.    §    636(b)(1),    the   Court    referred

 Anderson’s    motion        to    Magistrate     Judge   Michael     J.     Aloi   for

 consideration and issuance of a written report and recommendation

 (“R&R”) as to the appropriate disposition of the motion (Dkt. No.

 22).

        On January 13, 2021, Magistrate Judge Aloi held a suppression

 hearing and, on April 14, 2021, issued an R&R recommending that

 Anderson’s motion be denied (Dkt. No. 38). Anderson objected to

 the R&R on May 3, 2021, (Dkt. No. 41), and the Government responded

 on May 13, 2021 (Dkt. No. 42). For the reasons that follow, the
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 2 of 11 PageID #: 238
 USA v. ANDERSON                                                                1:20CR33

         MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
        38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
      AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

 Court ADOPTS the R&R (Dkt. No. 38), OVERRULES Anderson’s objections

 (Dkt. No. 41), and DENIES his motion to suppress (Dkt. No. 21).

                                 I.      BACKGROUND

        As a preliminary matter, the R&R thoroughly recounts the facts

 material to Anderson’s objections, which the Court need not repeat

 here. Anderson objects to the following conclusions in the R&R:

 (1) that his initial detention was lawful because the officers

 observed     specific     and   articulable          facts       indicating    criminal

 activity was afoot, including “domestic violence, harassment, or

 assault” and (2) that there was probable cause to arrest Anderson

 for     possession      with    intent          to   deliver       marijuana     and/or

 contributing to the delinquency of a minor.

                                 II.     DISCUSSION

        After conducting a de novo review of the portions of the R&R

 to which Anderson has objected and a clear error review of the

 portions of the R&R to which no objection was filed, the Court

 concludes    that,   based      on    the   totality       of     the   circumstances,

 Anderson’s detention was lawful and the officers had probable cause

 to arrest him.

 A.     The Officers had Reasonable Suspicion to Detain Anderson.
        Anderson’s    initial         detention       was     lawful      because     the

 responding     officers     observed        specific       and    articulable      facts


                                             2
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 3 of 11 PageID #: 239
 USA v. ANDERSON                                                           1:20CR33

       MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
      38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
    AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

 indicating     that     criminal   activity     was    occurring.       Anderson’s

 conduct,     combined     with   the   information      communicated      to     the

 officers about the 911 call received from Samantha Hoover, gave

 rise to an inference of reasonable suspicion sufficient to lawfully

 detain Anderson.

       The Fourth Amendment prohibits “unreasonable searches and

 seizures” by the Government, and its protections extend to brief

 investigatory stops. United States v. Arvizu, 534 U.S. 266, 273,

 122 S.Ct. 744 (2002) (citing Terry v. Ohio, 392 U.S. 1, 9, 88 S.Ct.

 1868 (1968)). An investigatory stop is permissible if, at the time

 of the seizure, the police officer has a reasonable suspicion that

 criminal activity is occurring. Terry, 392 U.S. at 30, 88 S.Ct.

 1868.   A   reasonable     suspicion    requires      some    minimal    level    of

 objective    justification       for   making   a   stop.     United    States    v.

 Sokolow, 490 U.S. 1, 7, 109 S.Ct. 1581 (1989).

         Reasonable suspicion to conduct an investigatory stop is a

 commonsense, nontechnical standard that relies on the judgment of

 experienced    law    enforcement      officers,      not    legal   technicians.

 United States v. Palmer, 820 F.3d 640, 650 (4th Cir. 2016) (citing

 Ornelas v. United States, 517 U.S. 690, 695, 116 S.Ct. 1657

 (1996)). Critically, “[i]ndividual facts and observations cannot

 be evaluated in isolation from each other.” United States v.


                                         3
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 4 of 11 PageID #: 240
 USA v. ANDERSON                                                                       1:20CR33

        MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
       38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
     AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

 Hernandez-Mendez, 626 F.3d 203, 208 (4th Cir. 2010) (additional

 citations      omitted).         Even     factors             that     are      individually

 “susceptible to innocent explanation” can, when taken together,

 “form     a   particularized       and    objective            basis”     for    suspecting

 criminal activity. Arvizu, 534 U.S. at 278, 122 S.Ct. 744.

       Anderson      contends      that        the       officers       lacked     reasonable

 suspicion to detain him because “he was not suspicious at all”

 (Dkt. No. 41 at 8). Yet the officers 1 testified at a subsequent

 hearing that:

       •   Officer    Lantz       knew    he       was    responding       to     a    reported

           disturbance at a Super 8 Motel, and the 911 dispatcher

           relayed    that    a    man    was        yelling      and    swearing       at   the

           individual who called 911 (Dkt. No. 38 at 7).

       •   Anderson appeared to be very upset and agitated at the

           scene,    and   was     speaking         to    an    unknown       person    on   his

           cellphone. Id. at 8, 20, 22. Anderson testified that he

           was so upset that it was difficult to explain to the




 1  Three officers testified at the suppression hearing: Officer
 Aaron Lantz, Patrolman First Class for the Bridgeport Police
 Department and an Interdiction Specialist for the Mountaineer
 Highway Interdiction Team South, Officer Cameron C. Turner of the
 Bridgeport Police Department, and Sergeant Christopher Bart Sayers
 of the Bridgeport Police Department.

                                               4
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 5 of 11 PageID #: 241
 USA v. ANDERSON                                                    1:20CR33

        MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
       38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
     AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

            responding officers the situation involving Hoover, his

            friend who was staying in the next motel room. 2 Id. at 28.

        •   The source of the parties’ disagreement was Anderson’s

            desire to retrieve his belongings from Hoover’s car and

            his inability to get a ride from Hoover to go to work. Id.

            at 7.

        •   Anderson told Officer Turner that he thought he might have

            to break Hoover’s car window to access his property. Id.

            at 21.

        •   Once Hoover came out of her motel room to unlock her car

            so that Anderson could remove his belongings, he told her

            he would “see her later” and that “this [was] ridiculous.”

            Id. at 9, 22.

        •   Officer Lantz interpreted this exchange as a threat and

            was concerned that Anderson might retaliate against Hoover

            for calling 911. Id. at 9. Officer Turner also feared the

            situation   would   escalate   into   a   physical   altercation

            between Anderson and Hoover. Id. at 22.




 2   Hoover spoke to the 911 dispatcher (Dkt. No. 38 at 8).
                                       5
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 6 of 11 PageID #: 242
 USA v. ANDERSON                                                             1:20CR33

       MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
      38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
    AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

        •    Officer Turner broke up the argument between Hoover and

             Anderson by placing himself between the parties. Id. at 9,

             22.

        The        Court    must    determine     whether     an   experienced       law

 enforcement officer, using his judgment, could have concluded that

 criminal activity was occurring. See United States v. Arvizu, 534

 U.S.       266,    273,    122    S.Ct.    744   (2002).    Anderson’s    arguments,

 including that Hoover did not initiate the 911 call, testified

 later that she was not afraid of him, and, in any case, had deprived

 him of his property, are not determinative to the outcome here.

        Officers          Lantz    and   Turner   testified    that     Anderson     was

 agitated, upset, and appeared to be threatening Hoover. Moreover,

 Officer Turner had to physically intervene when Hoover and Anderson

 began arguing. Taken together, these facts supported the officers’

 questioning of Anderson and remaining with him until he left the

 scene so that they could ensure the situation did not escalate

 further. See United States v. Blount, DOCKET NO. 3:19-CR-00218-

 MOC-DSC, 2020 WL 697450 at *4 (W.D.N.C. Feb. 11, 2020).

        Importantly, Anderson has cited no legal authority in support

 of his position that the officers should have withdrawn to permit

 Anderson’s         and    Hoover’s      disagreement   to   escalate     further,    or

 waited until a third party complained. Instead, the officers

                                              6
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 7 of 11 PageID #: 243
 USA v. ANDERSON                                                    1:20CR33

         MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
        38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
      AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

 observed specific and articulable facts that made them suspicious

 of criminal activity occurring or, at least, likely to occur

 without their intervention. Consequently, Anderson’s detention was

 lawful and the cash discovered while he was detained should not be

 suppressed.

 B.      The Officers Had Probable Cause to Arrest Anderson.

        Likewise, based on the totality of the circumstances at the

 scene, the officers had probable cause to arrest Anderson for

 possession with intent to deliver marijuana and contributing to

 the delinquency of a minor.

        To determine whether an officer had probable cause to make an

 arrest, the court “examine[s] the events leading up to the arrest,

 and then decides ‘whether these historical facts, viewed from the

 standpoint of an objectively reasonable police officer, amount to’

 probable cause.” District of Columbia v. Wesby, __ U.S. __, 138

 S.Ct. 577, 585 (2018) (quoting Maryland v. Pringle, 540 U.S. 366,

 371,    124   S.Ct.   795   (2003))   (additional    citations    omitted).

 Probable cause is a “fluid concept” that is “not readily, or even

 usefully, reduced to a neat set of legal rules.” Illinois v. Gates,

 462 U.S. 213, 232, 103 S.Ct. 2317 (1983). Rather, it “requires

 only a probability or substantial chance of criminal activity, not

 an actual showing of such activity.” Id. at 243-44, n. 13, 103


                                       7
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 8 of 11 PageID #: 244
 USA v. ANDERSON                                                     1:20CR33

        MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
       38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
     AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

 S.Ct. 2317. Indeed, “probable cause ‘is not a high bar.’” Wesby,

 __ U.S. __, 138 S.Ct. at 586 (quoting Kaley v. United States, 571

 U.S. 320, 338, 134 S.Ct. 1090, 1103 (2014)).

       Officer   Lantz    smelled   marijuana    emanating    from   Hoover’s

 vehicle when Anderson removed his belongings, and Hoover then gave

 the officers permission to search her car. (Dkt. No. 38 at 10,

 17). Shortly after Officer Lantz noticed the marijuana odor from

 Hoover’s vehicle, Sergeant Sayers alerted him to the presence of

 a minor who smelled strongly of marijuana. Id. at 10. The minor

 immediately produced a bag containing approximately 5.75 grams of

 marijuana out of her undergarments when she was questioned about

 the smell. Id. The minor later told Officer Lantz and Sergeant

 Sayers that the marijuana belonged to Anderson and that he had

 given it to her to hold. Id. at 10, 26.

       After these facts were established, Officer Lantz noticed a

 large bulge in Anderson’s sock and asked him about it. 3 Id. at 11,

 30. Anderson told Officer Lantz that the bulge was cash. Id. at

 11. Although there is conflicting evidence about whether Officer

 Lantz searched Anderson to remove the cash or Anderson handed the

 cash to Officer Lantz, the cash totaled approximately $3,120,


 3  Anderson was previously frisked for weapons by Officer Turner,
 who patted him down to his waist and pockets, but who did not
 search farther down his legs. Id. at 22.
                                       8
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 9 of 11 PageID #: 245
 USA v. ANDERSON                                                         1:20CR33

       MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
      38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
    AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

 predominately in one-hundred-dollar and twenty-dollar bills. Id.

 at 11-12.

       After a smoking pipe was discovered in Hoover’s vehicle,

 Officer Lantz interviewed her. Id. at 12. Hoover told Lantz that

 she and Anderson had known each other for approximately one year,

 often    stayed   together,    and    sometimes        traveled   together   to

 Morgantown,    West    Virginia,     so       that   Anderson   could   purchase

 marijuana. Id. at 12-13. Hoover also told Officer Lantz that

 Anderson sold marijuana to her and her family, and that some of

 the cash recovered from Anderson’s sock was obtained through drug

 sales. Id. at 13.

       Anderson was arrested and his cell phone seized. Id. at 15.

 Another officer, Lieutenant Petroski, explained to Anderson that

 he would be charged with possession with intent to deliver and

 contributing to the delinquency of a minor. Id. at 23.

       Anderson contends that there was no probable cause to arrest

 him because he did not have any contraband on his person, in his

 bag, or in his motel room (Dkt. No. 41 at 11). Anderson further

 argues that the officers did not observe any drug transactions and

 that the amount of marijuana recovered could have been for personal

 use. Id. at 12. Anderson also alleges that the Court should not

 consider the cash seized from him in its probable cause analysis


                                           9
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 10 of 11 PageID #: 246
  USA v. ANDERSON                                                     1:20CR33

        MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
       38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
     AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

  because it is the result of an illegal search. Id. at 12-13. The

  Government, however, contends that, based on the circumstances at

  the scene, the officers had probable cause to arrest Anderson (Dkt.

  No. 42 at 3-5).

        Anderson’s   objection    lacks     merit.   Even   without   the   cash

  discovered on his person, the officers had probable cause, which

  requires only a probability—not an actual showing—of criminal

  activity, to arrest him for possession with intent to deliver. The

  investigating officers spoke to Hoover, who knew Anderson, had

  purchased drugs from him, and had knowledge of his drug sales to

  her family members. Moreover, Hoover told Officer Lantz that she

  had accompanied Anderson to Morgantown on more than one occasion

  to purchase marijuana.

        This information, coupled with the minor’s statement that

  Anderson had given her approximately 5.75 grams of marijuana to

  hold for him, could have led a reasonable officer to believe that

  criminal activity was probably occurring. The additional evidence

  pertaining to the cash found on Anderson—and, more importantly,

  Hoover’s observation that he had obtained some of that cash from

  drug sales—was more than enough to give the officers probable cause

  to arrest Anderson.




                                       10
Case 1:20-cr-00033-IMK-MJA Document 48 Filed 05/25/21 Page 11 of 11 PageID #: 247
  USA v. ANDERSON                                                    1:20CR33

        MEMORANDUM OPINION AND ORDER ADOPTING THE R&R [DKT. NO.
       38], OVERRULING THE DEFENDANT’S OBJECTIONS [DKT. NO. 41],
     AND DENYING THE DEFENDANT’S MOTION TO SUPPRESS [DKT. NO. 21]

        It is worth observing that, even if the officers had not

  arrested Anderson for possession with intent to deliver, they could

  have arrested him for contributing to the delinquency of a minor

  for providing the minor 5.75 grams of marijuana to hold. The Court

  therefore OVERRULES Anderson’s objections and concludes that his

  detention and arrest were lawful. Accordingly, the exclusionary

  rule does not apply and the evidence should not be suppressed.

                               III. CONCLUSION

     For the reasons discussed, the Court:

        •    ADOPTS the R&R (Dkt. No. 38);

        •    OVERRULES Anderson’s objections (Dkt. No. 41); and

        •    DENIES Anderson’s motion to suppress (Dkt. No. 21).

        It is so ORDERED.

        The Clerk SHALL transmit copies of this Memorandum Opinion

  and Order to counsel of record and all appropriate agencies.

  DATED: May 25, 2021.

                                            /s/ Irene M. Keeley_________
                                            IRENE M. KEELEY
                                            UNITED STATES DISTRICT JUDGE




                                       11
